      Case 1:18-cv-00068 Document 307 Filed in TXSD on 08/13/18 Page 1 of 8



                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF TEXAS
                             BROWNSVILLE DIVISION

STATE OF TEXAS, et al.,                   )
                                          )
             Plaintiffs,                  )
                                          )
       v.                                 ) Case No. 1:18-CV-68
                                          )
UNITED STATES OF AMERICA, et al.,         )
                                          )
             Defendants,                  )
                                          )
KARLA PEREZ, et al.,                      )
                                          )
             Defendant-Intervenors,       )
and                                       )
                                          )
                                          )
STATE OF NEW JERSEY,
                                          )
                                          )
            Defendant-Intervenor.         )



        STATE OF NEW JERSEY’S POST-HEARING SUPPLEMENTAL BRIEF
     Case 1:18-cv-00068 Document 307 Filed in TXSD on 08/13/18 Page 2 of 8



       New Jersey submits this brief pursuant to the Court’s request for briefing on whether

there can be a “violation of the procedural APA” if individual discretion is being exercised on a

case-by-case basis in adjudicating DACA applications. 1 The answer is no.

       As the Fifth Circuit has explained, “[substantive] rules … grant rights, impose

obligations, or produce other significant effects on private interests. They also narrowly constrict

the discretion of agency officials by largely determining the issue addressed.” Texas v. United

States, 809 F.3d 134, 176, n.145 (5th Cir. 2015) (quoting Avoyelles Sportsmen’s League, Inc. v.

Marsh, 715 F.2d 897, 908 (5th Cir. 1983)) (alteration and omission in original, second emphasis

added). As the Fifth Circuit’s analysis in Texas reveals, if a policy sets forth a framework for

how an executive agency will exercise its discretion going forward, but leaves discretion to be

exercised in each individual case, it does not grant substantive rights and need not go through

notice and comment.

       The Fifth Circuit relies on two criteria to distinguish “policy statements,” which are

exempt from the APA’s notice-and-comment rulemaking requirements, from “substantive rules,”

which are not exempt: “whether the rule (1) ‘impose[s] any rights and obligations’ and

(2) ‘genuinely leaves the agency and its decision-makers free to exercise discretion.’” Texas, 809

F.3d at 171 (quoting Prof’ls & Patients for Customized Care v. Shalala, 56 F.3d 592, 595 (5th

Cir.1995)). The Fifth Circuit recognizes “overlap” between these “prongs” because “‘[i]f a

statement denies the decisionmaker discretion in the area of its coverages . . . then the statement

is binding, and creates rights or obligations.’” Texas, 809 F.3d at 171 (quoting Gen. Elec. Co. v.

E.P.A., 290 F.3d 377, 382 (D.C. Cir. 2002)).




1
 The email chain that counsel for New Jersey provided to the Court at the August 8, 2018
hearing is submitted with this Brief as NJ Appendix, Ex. 71, NJAPP0836- 838.
     Case 1:18-cv-00068 Document 307 Filed in TXSD on 08/13/18 Page 3 of 8



       Conversely, if a policy grants case-by-case discretion to a decisionmaker, it by nature

cannot create binding legal rights or obligations. The Fifth Circuit thus differentiates between

binding rules, on the one hand, which “affect individual rights and obligations and are binding on

the courts,” and policy pronouncements, on the other hand, which “genuinely leave the agency

and its decisionmakers free to exercise discretion.” Texas Savs. & Cmty. Bankers Ass’n v. Fed.

Hous. Fin. Bd., 201 F.3d 551, 556 (5th Cir. 2000). And in General Electric, cited by the Fifth

Circuit in Texas, the D.C. Circuit asked whether “the agency action … impose[s] any rights and

obligations” or instead “genuinely leaves the agency and its decisionmakers free to exercise

discretion”—and then focused its entire analysis on whether the agency pronouncement

“appear[ed] on its face to be binding, or [wa]s applied by the agency in a way that indicates it is

binding.” 290 F.3d at 382-85 (internal quotation marks and citations omitted); see also McLouth

Steel Prods. v. Thomas, 838 F.2d 1317, 1320 (D.C. Cir. 1988) (explaining that in practice “the

second criterion may well swallow the first”).

       This Court has also recognized that the extent to which the agency can exercise discretion

in individual cases going forward is the critical factor in distinguishing a policy from a rule—

holding that “[a]s long as the agency remains free to consider the individual facts in the various

cases that arise, then the agency action in question has not established a binding norm.” Texas v.

United States, 86 F. Supp. 3d 591, 668-69 (S.D. Tex. 2015) (emphasis added); see also Ryder

Truck Lines, Inc. v. United States, 716 F.2d 1369, 1377 (11th Cir. 1983) (“[W]hether a particular

agency proceeding announces a rule or a general policy statement depends upon whether the

agency action establishes ‘a binding norm.’ The key inquiry, therefore, is the extent to which the

challenged policy leaves the agency free to exercise its discretion to follow or not to follow that

general policy in an individual case …. As long as the agency remains free to consider the



                                                 2
     Case 1:18-cv-00068 Document 307 Filed in TXSD on 08/13/18 Page 4 of 8



individual facts in the various cases that arise, then the agency action in question has not

established a binding norm.” (internal quotation marks and citations omitted and emphases

added)).

       This makes sense. A legal right is a substantive entitlement that is not subject to absolute

agency discretion. For example, welfare benefits are “a matter of statutory entitlement for

persons qualified to receive them.” Goldberg v. Kelly, 397 U.S. 254, 262 (1970). This means an

individual adjudicator at the Department of Health and Human Services cannot simply choose to

exercise his or her discretion to deny welfare benefits to a person statutorily entitled to receive

them. In addition, the termination of welfare benefits “involves state action that adjudicates

important rights,” and thus “procedural due process must be afforded” prior to termination. Id. at

262-63.

       The Napolitano Memo could not be more different. The Memo is crystal clear that it

“confers no substantive right, immigration status or pathway to citizenship.” Dkt. 6, Ex. 1 (App.

2-4). No person has any substantive entitlement to obtain deferred action under the Memo, and

the Executive retains discretion to revoke a grant of deferred action at any time. See Texas, 809

F.3d at 148 (recognizing that “‘[l]awful presence’ is not an enforceable right to remain in the

United States and can be revoked at any time”). Case law backs DHS up on this: the Supreme

Court has held that, despite efforts by applicants to sue after being denied deferred action under

prior frameworks, federal laws are “designed to give some measure of protection to ‘no deferred

action’ decisions,” and Congress sought to limit “judicial constraints upon [this] prosecutorial

discretion.” Reno v. Am.-Arab Anti-Discrimination Cmte., 525 U.S. 471, 485 & n.9 (1999).

       As support for its assertion that the Napolitano Memo confers “substantive rights,”

Plaintiffs argue that “litigants challenging the Executive’s 2017 decision to wind down DACA”



                                                  3
     Case 1:18-cv-00068 Document 307 Filed in TXSD on 08/13/18 Page 5 of 8



admitted “that aliens who received DACA status would not have been able—but for DACA—to

lawfully obtain jobs and access to certain Social Security and Medicare benefits.” Dkt. 5 at 34

(internal quotation marks omitted); see also Dkt. 282 at 19-21.

       But this argument suffers from two fatal flaws. First, none of those litigants are parties to

this case, and their arguments are not binding on Defendant-Intervenors here. Second, the

language quoted by Plaintiffs does not establish that the Napolitano Memo itself confers any

substantive rights. Plaintiffs confuse a substantive right to obtain deferred action with the ability

of one who has already been granted deferred action as an exercise of discretion to apply for

work authorization or qualify for certain retirement or Medicare benefits. The latter has been the

law for years, pursuant to independent, pre-existing regulations that already went through notice

and comment rulemaking. As New Jersey has already explained, see Dkt. 215 at 14-18, 26-28;

Dkt. 286 at 8, those granted deferred action have been able to apply for work authorization since

the 1970s, and the policy was codified in formal regulations—both of which went through notice

and comment rulemaking—in 1981 and 1987. See 46 Fed. Reg. 25,079 at 25,081 (May 5, 1981)

(permitting those granted deferred action to apply for work authorization if they could establish

“economic need as a pre-requisite”) (Dkt. 215-1, Ex. 41 (NJAPP411)); 52 Fed. Reg. 16,216 (May 1,

1987) (permitting those granted deferred action to apply for work authorization if they could

“establish[] an economic necessity for employment”) (Dkt. 215-1, Ex. 42 (NJAPP416)). Thus, when

the Napolitano Memo confirmed that USCIS would “accept applications to determine whether

… individuals qualify for work authorization during this period of deferred action,” Dkt. 6, Ex. 1

(App. 4), it was stating the obvious—that a separate and longstanding regulation, which had

gone through a public comment period decades earlier, set up that process.

       The same is true of the other benefits Plaintiffs cite. Since 1996, federal law has provided

that “an alien who is lawfully present in the United States as determined by the Attorney

                                                   4
     Case 1:18-cv-00068 Document 307 Filed in TXSD on 08/13/18 Page 6 of 8



General,” may receive “any benefit payable under title II of the Social Security Act.” 8 U.S.C.

§ 1611(b)(2). That same year, the INS promulgated regulations clarifying that “for purposes of

section 401(b)(2) of Pub. L. 104-193 only, an ‘alien who is lawfully present in the United

States,’” includes “[a]liens currently in deferred action status.” 61 Fed. Reg. 47,039 at 47,041

(Sept. 6, 1996) (Dkt. 215-1, Ex. 44 (NJAPP435)); see also 76 Fed. Reg. 53,764 at 53,780 (Aug.

29, 2011) (Dkt. 215-1, Ex. 45 (NJAPP440)). In other words, while a grant of deferred action may

implicate “significant” collateral consequences, Texas, 809 F.3d at 148, those consequences all

flow from other regulations that apply to all deferred action grants and that went through notice

and comment rulemaking. That is why, starting in the 1970s, DHS announced a series of

deferred action policies, without ever subjecting a single one to notice and comment. The

Napolitano Memo is no different.

                                           CONCLUSION

        A finding that DHS exercises discretion in adjudicating DACA applications means the

Napolitano Memo comports with the procedural requirements of the APA. Accordingly, and for

the reasons stated in its previous briefs, see Dkts. 215 and 286, New Jersey respectfully requests that

the Court deny Plaintiffs’ motion for preliminary injunction.



 Dated: August 13, 2018                         GURBIR S. GREWAL
                                                ATTORNEY GENERAL OF NEW JERSEY

                                        By:     /s/Rachel Wainer Apter
                                                Assistant Attorney General
                                                Attorney-in-Charge
                                                (admitted pro hac vice)
                                                Richard J. Hughes Justice Complex
                                                25 Market Street, 8th Floor
                                                Trenton, New Jersey 08625-0116
                                                Phone: (609) 376-2702
                                                Fax: (609) 777-4015
                                                Rachel.Apter@njoag.gov

                                                   5
Case 1:18-cv-00068 Document 307 Filed in TXSD on 08/13/18 Page 7 of 8




                               Jeremy Hollander, Assistant Attorney General
                               (admitted pro hac vice)
                               Kenneth S. Levine, Deputy Attorney General
                               (admitted pro hac vice)
                               Paul H. Juzdan, Deputy Attorney General
                               (admitted pro hac vice)
                               Katherine Gregory, Deputy Attorney General
                               (admitted pro hac vice)
                               Nicholas Dolinksy, Deputy Attorney General
                               (admitted pro hac vice)
                               Brian DeVito, Deputy Attorney General
                               (admitted pro hac vice)
                               Office of the Attorney General
                               124 Halsey Street, 5th Floor
                               Newark, NJ 07101

                               Attorneys for Defendant-Intervenor State of New
                               Jersey




                                  6
     Case 1:18-cv-00068 Document 307 Filed in TXSD on 08/13/18 Page 8 of 8



                                  CERTIFICATE OF SERVICE

       I certify that on August 13, 2018, I caused this document (and exhibits hereto) to be

electronically filed with the Clerk of the Court using the CM/ECF system, which will send

notification of such filing to all counsel of record.

                                               /s/Rachel Wainer Apter
                                               Rachel Wainer Apter




                                                   7
      Case 1:18-cv-00068 Document 307-1 Filed in TXSD on 08/13/18 Page 1 of 5



                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF TEXAS
                                 BROWNSVILLE DIVISION

STATE OF TEXAS, et al.,                                 )
                                                        )
                 Plaintiffs,                            )
                                                        )
         v.                                             ) Case No. 1:18-CV-68
                                                        )
UNITED STATES OF AMERICA, et al.,                       )
                                                        )
                 Defendants,                            )
                                                        )
KARLA PEREZ, et al.,                                    )
                                                        )
                 Defendant-Intervenors,                 )
and                                                     )
                                                        )
                                                        )
STATE OF NEW JERSEY,
                                                        )
                                                        )
                Defendant-Intervenor.                   )

                                              APPENDIX

         Pursuant to this Court’s Civil Procedures, Rule 7, Defendant-Intervenor, State of New

Jersey, hereby provides this Court with the following table of contents and copies of the

documents and authorities cited in its Post-Hearing Supplement Brief in Opposition to Plaintiffs’

Motion for Preliminary Injunction:

  Ex.                                     Description                                   Page

                                                                                   NJAPP0836-
      71.     DEF00007875-76                                                       838


Dated: August 13, 2018                         GURBIR S. GREWAL
                                               ATTORNEY GENERAL OF NEW JERSEY

                                        By:    /s/Rachel Wainer Apter
                                               Assistant Attorney General
                                               Attorney-in-Charge
                                               (admitted pro hac vice)
Case 1:18-cv-00068 Document 307-1 Filed in TXSD on 08/13/18 Page 2 of 5



                                Richard J. Hughes Justice Complex
                                25 Market Street, 8th Floor
                                Trenton, New Jersey 08625-0116
                                Phone: (609) 376-2702
                                Fax: (609) 777-4015
                                Rachel.Apter@njoag.gov

                                Jeremy Hollander, Assistant Attorney General
                                (admitted pro hac vice)
                                Kenneth S. Levine, Deputy Attorney General
                                (admitted pro hac vice)
                                Paul H. Juzdan, Deputy Attorney General
                                (admitted pro hac vice)
                                Brian DeVito, Deputy Attorney General
                                (admitted pro hac vice)
                                Katherine Gregory, Deputy Attorney General
                                (admitted pro hac vice)
                                Nicholas Dolinsky, Deputy Attorney General
                                (admitted pro hac vice)
                                Office of the Attorney General
                                124 Halsey Street, 5th Floor
                                Newark, NJ 07101

                                Attorneys for Defendant-Intervenor State of New
                                Jersey
Case 1:18-cv-00068 Document 307-1 Filed in TXSD on 08/13/18 Page 3 of 5




          Exhibit 71




                                                               NJAPP0836
             Case 1:18-cv-00068 Document 307-1 Filed in TXSD on 08/13/18 Page 4 of 5


From:

Sent:              Tuesday, May 8, 2018 10:36 AM
To:                Robinson, Brandon M - u s c i s . d h s . g o v >
Subject:           RE: DACA Discretinoary Denials


Brandon,

TSC has been out of the DACA initial/renewal business for over 2 years now. However, Section Chief Tyronda Lee (BCU)
will respond behalf of TSC since her team processed the criminality cases. On the adjudication side, we typical denied
cases because they did not meet the guidelines.

Thanks.




Malethea Holmes-Okeawolam
Associate Center Director I Texas Service Center
Office: (214) 962-11111 Cell: (214) 236--




From: Robinson, Brandon M
Sent: Tuesday, May 08, 2018 8:00 AM
To: DeBoer, Allan S; Shafii-Stier, Sara A; Jenkins, Jennifer L; Herring, Monte R; Lewis, Theodore R; Nguyen, Van T;
Sherman, Lori A; Beyor, Avery G Jr; Nephew, Brad D; Marks, Jaylan A; Holmes-Okeawolam, Malethea S; Lee, Tyronda E;
Liu, Jerry
Cc: Umoru, Victoria E; Garon, Michielle S
Subject: DACA Discretinoary Denials
Importance: High

Good morning DACA POCs,

I hope you are all doing well.

We are in need of your assistance in providing information to DOJ regarding discretionary denials. Specifically, has DACA
ever been denied based on purely discretionary factors when all the DACA guidelines have been met (to include not
being a public safety concern)? DOJ is requesting our responses by noon ET today (5/8). Any information you can share
would be greatly appreciated. Apologies for the quick turnaround.

Thanks!
Brandon

Brandon Robinson
Acting Branch Chief


                                                                                                   NJAPP0837
                                                       Confidential                                          DEF - 00007875
             Case 1:18-cv-00068 Document 307-1 Filed in TXSD on 08/13/18 Page 5 of 5
Service Center Operations HQ
U.S. Citizenship and Immigration Services
Department of Homeland Security
402.304.-cell)




                                                                            NJAPP0838
                                            Confidential                               DEF - 00007876
